                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                                August 10, 2016
                              No. 10-16-00245-CR
                            EX PARTE JOE PENA, SR.
                                       
                                center-4254500
                        From the 20[th] District Court
                              Milam County, Texas
                            Trial Court No. 19,269
                                       
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JUDGMENT

	This proceeding has been considered by the Court.  Because the Court finds that it does not have jurisdiction of the proceeding, it is the judgment of this Court that the proceeding is dismissed.  
	A copy of this judgment will be certified by the Clerk of this Court.
							PER CURIAM
						SHARRI ROESSLER, CLERK			
3040380-1206500
						By: ___________________________
							Nita Whitener, Deputy Clerk

